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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN



In the matter of:                                                2:24-cv-10590
                                                        CASE NO. ______________________

B.K.A. O/B/O E.K.,

                Plaintiffs

v.

Plymouth-Canton Community Schools,

                 Defendant.


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               VERIFIED COMPLAINT FOR ATTORNEY FEES AND COSTS

                                         INTRODUCTION

1.       Plaintiffs, B.K.A O/B/O E.K., by and through undersigned counsel, bring this action for

         declaratory relief and attorneys’ fees and costs pursuant to the Individuals with Disabilities

        Education Act (IDEA), 20 U.S.C. § 1400 et. seq., and the Michigan Administrative

        Rules for Special Education (“MARSE”) M.C.L. § 340.1701, et seq.
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2.   Plaintiffs are a minor student with disabilities and her parent, who prevailed in a

     special   education     due    process proceeding. Plaintiffs now seek a declaratory

     judgment as to their status as prevailing party in the administrative proceeding and

     full reimbursement from the Defendant of reasonable attorneys’ fees, costs, and

     interest accrued in successfully pursuing the claims as provided for by the IDEA, 20

     U.S.C. § 1415(i)(3)(A).

3.   Plaintiffs’ status as a prevailing party under the IDEA was established in the

     February 9, 2024, Decision and Order, which was amended/clarified on Feb. 14,

     2024, by an Order Clarifying Remedy and Errata to Decision and Order issued by

     the Administrative Law Judge (ALJ) appointed by the Michigan Department of

     Education. (See Exhibits A, B and C).

4.   The Decision and Order substantially changed the legal position of the parties.

                 JURISDICTION, VENUE, AND EXHAUSTION

5.   This Court has jurisdiction over this action pursuant to 20 U.S.C. § 1415(i)(3)(A) and

     20 U.S.C. § 1415(i)(2)(A).

6.   This is a civil action over which this Court has original and exclusive jurisdiction

     pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343.

7.   Declaratory and Injunctive relief are authorized by 28 U.S.C. § 2201.

8.   Venue is appropriate in this district pursuant to 28 U.S.C. §1391(b), as the parties

     are located in Plymouth, Michigan, and events that are the subject of this Complaint

     took place within this district.

9.   This action has been brought within 90 days of the Decision and Order pursuant to

     the IDEA and the Michigan Administrative Rules for Public School Education

     (MARSE). 20 U.S.C. § 1415(i)(2)(B), R 340.1724f(5).
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10.   Plaintiffs have exhausted all administrative remedies available to them under the IDEA

       as required by 20 U.S.C. § 1415(i)(2).

                                       THE PARTIES

 11.    Plaintiff, E . K . (“Student” or “Plaintiff”), is a 14-year-old student with a

        disability as defined by the IDEA, the MMSEA, and MARSE under the category of

        Other Health Impairment. Plaintiff B.K.A. (“Parent” or “Plaintiff”) is her mother. At

        all relevant times, Plaintiffs resided in the Plymouth-Canton Community Schools

        boundaries.

 12.    Student received special education and related services from Defendant during the

        applicable statutory time period.

 13.    As a special education student, Plaintiff was entitled to receive a Free Appropriate

        Public Education (FAPE) from the Defendant.

 14.    Defendant Plymouth-Canton Community Schools and the Board of Education of

        Plymouth-Canton Community Schools (collectively, “Plymouth-Canton” or “PCCS”),

        are a public school district operating pursuant to the Michigan Revised School Code.

        M.C.L. § 380.1, et seq. Plymouth-Canton was Plaintiffs’ home district and as such,

        was the local education agency (LEA) responsible for providing Student with a FAPE

        and the procedural protections required under the IDEA.

                                             FACTS

 15.    On A u g . 1 6 , 2 0 2 3 , Plaintiffs, through their attorneys, filed a due process

        complaint against Plymouth-Canton Public Schools, alleging a failure to provide

        Plaintiff with a free, appropriate public education (FAPE) due to procedural and

        substantive violations of the IDEA and the Michigan Administrative Rules for Special

        Education (MARSE) during the time period that Plymouth-Canton was obligated to

        provide her a FAPE.

 16.    On Aug. 17, 2023, the case was assigned to an administrative law judge (ALJ) or
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      hearing officer.

17.   An administrative due process hearing was held over three days on Dec. 18-20, 2024.

18.   At the administrative due process hearing, the parties presented a total of eight

      witnesses and about 118 exhibits. The hearing resulted in a three-volume transcript

      totaling 684 pages.

19.   Both parties subsequently filed Post-Hearing Briefs.

20.   The ALJ’s Decision and Order held that Plaintiff, who carried the burden of

      persuasion, proved by a preponderance of the evidence that Defendants violated the

      IDEA and the MARSE by failing to provide Plaintiff with a FAPE during the

      relevant time period.

21.   Specifically, in his 34-page decision, the ALJ held that Plymouth-Canton had

      impeded the student’s right to a Free Appropriate Public Education (FAPE) by failing

      to include reading and math goals in her Individualized Education Plans (IEPs). This

      failure occurred even though Plymouth-Canton Community Schools knew that

      student was currently performing in the bottom 20 percent when compared to her

      same-age peers in reading and math.

22.   Because the HO articulated various problems with Plymouth-Canton’s actions and

      inactions, he ordered the following significant relief and remedies, most of which was

      not offered by Defendant prior to the hearing:

                 NOW, THEREFORE, IT IS ORDERED Respondent reimburse
         Petitioner $3,845.00 for the cost of the comprehensive evaluation that
         was completed by McCaskill Family Services.

                 IT IS FURTHER ORDERED that Student's IEP team must
         consider the conclusions and recommendations set forth in the
         McCaskill Report at an IEP team meeting no later than 30 days after
         the date of this Decision and Order (unless the conclusions and
         recommendations set forth in the McCaskill Report have already been
         considered at an IEP team meeting held between the hearing and the
         date of this Decision and Order).

                IT IS FURTHER ORDERED that, no later than 14 days after
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        the date of this Decision and Order, Respondent shall seek parental
        consent to have a multidisciplinary evaluation team conduct an
        evaluation of Student for eligibility under the Emotional Impairment
        (EI) category.

                 IT IS FURTHER ORDERED that, no later than 30 days after
         the date of this Decision and Order, Respondent shall convene
         Student's IEP team to add appropriate, measurable goals in math and
         English Language Arts (ELA) to Student's IEP (unless measurable
         math and ELA goals have already been added to Student's IEP at an
         IEP team meeting held between the hearing and the date of this
         Decision and Order).

                 IT IS FURTHER ORDERED that Respondent must provide 72
         hours of compensatory education to Student in the area of math. The
         compensatory education should be in the form of one-on-one tutoring
         unless the parties mutually agree to a different form of compensatory
         education.

                 IT IS FURTHER ORDERED that Respondent must provide 72
         hours of compensatory education to Student in the area of ELA. The
         compensatory education should be in the form of one-on-one tutoring
         unless the parties mutually agree to a different form of compensatory
         education.

                IT IS FURTHER ORDERED that Petitioner's remaining claims
         and any other claims or defenses not specifically addressed herein are
         dismissed with prejudice.

23.   In a subsequent order clarifying the timeline, which was issued on Feb. 14, 2024, the

      hearing officer gave the district deadlines for completion of the compensatory

      educational services he had ordered. (See Exhibt C.)

24.   In addition to prevailing in the hearing decision, the family prevailed in the vast majority

      of pretrial motions filed by Respondent, some of which contained material

      misrepresentations of fact and law, among other things, escalating the costs and time that

      had to be expended by Plaintiffs.

25.   The ALJ’s Decision and Order further held that Plaintiff had timely filed within two

      years of when he “knew or should have known” the violation occurred, entitling

      Plaintiff to relief for the entire period of FAPE deprivation.

26.   Clearly, Plaintiffs are the prevailing party.
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                                           COUNT I


                       PREVAILING PARTY CLAIM
                                 AND
            CLAIM FOR REIMBURSEMENT OF ATTORNEY FEES AND
                                COSTS

 27.    Plaintiffs reallege and reincorporate all previous paragraphs as though set forth herein.

 28.    Per the ALJ Decision and Order, Plymouth-Canton violated the IDEA and the

        MARSE by failing to comply with the substantive requirements of the IDEA and

        MARSE by failing to provide Plaintiff with a FAPE.

 29.    The IDEA provides for a fee-shifting to occur in regard to the parent’s attorney fees in

        special education matters when the parent prevails on any significant issue in the

        litigation. Specifically, under the IDEA, parents may recover attorney fees whenever

        they prevail in any action or proceeding.

 30.    The provision of the IDEA that awards the right to recover attorney’s fees is modeled

        in part after 42 U.S.C. § 1988, the Civil Rights Attorney’s Fees Awards Act of 1976.

 31.    Per the ALJ Decision and Order, Plaintiff was the prevailing party at the

        administrative hearing.      Therefore, Plaintiff is entitled to reimbursement of

        reasonable attorney fees and costs. 20 U.S.C. § 1415(i)(3).

32.    As of Febru ary 26, 20 24, P hil pot Law Offi c e p rov id ed 3 07 .9 h o u rs o f

       l egal s ervi ces in t he am oun t of $12 1,6 20. 50 and cos ts o f $ 9 .6 0 . (See

       Exhibit D).

 33.    As of Feb. 26, 2024, Connell Michael provided 181.7 hours of legal services and

        costs totaling $69,299.50 and costs of $1,686. (See Exhibit E).

 34.    The attorney’s fees, costs, and interest associated with this action continue to

        accumulate as this attorneys’ fees action and the enforcement of the ALJ’s Decision and

        Order proceed.
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35.    Counsel for Plaintiffs reserve the right to amend the total amount owed when all issues

       related to this action have been resolved with ftnality, as courts have held that federal

       court fees and costs incurred in an effort to pursue prevailing party attorney fees at the

       federal level for work done at the administrative level also are reimbursable to

       Plaintiffs.

                                   RELIEF REQUESTED

         WHEREFORE, Plaintiffs request that the Court grant the following relief:

A.             Find that Plainti tTs are the prevailing party pursuant to the IDEA, 20

               U.S.C. § 1415(i)(3)(B).

B.             Enter a judgment against Defendant in the amounts cited above

               for administrative level reasonable attorney' s fees and costs.

c.             Enter a judgment against Defendant for additional attorneys ' fees and costs

               incurred in pursuing the current action.

D.             Award Plaintiffs ' prejudgment and post-judgment interest on any and all

               awards of fees and costs.

E.             Any further relief that the Court deems equitable and proper.


                                               ~fication by P       "n(   Parent
                                               ~             ~            VLLfJ
                                              Rebecca (Krupa) Arnold

Dated: March g, 2024                           Respectfully submitted,

                                              s/ Dorene Philpot

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